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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 24-CR-197-JFH-01

DAVID JULIAN MENDOZA GONZALEZ,
a/k/a"Primo Mr. Bean,"

a/k/a "David M. Gonzalez,"

a/k/a "David Mendoza,"

a/k/a "David J. Mendoza,"

Defendant.

Plea Agreement
The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and Mandy M. Mackenzie,
Assistant United States Attorney, and the defendant, DAVID JULIAN MENDOZA
GONZALEZ, in person and through counsel, Ryan Heatherman, respectfully
inform the Court that they have reached the following plea agreement.

1. Plea

The defendant agrees to enter a voluntary plea of guilty to the following:

COUNT ONE: 21 U.S.C. §8§ 846, 841(b)(1)(A)(i), and 841(b)(1)(A)(vi)- Drug
Conspiracy

as set forth in the Indictment in the instant case, Northern District of Oklahoma, and
admits to being in fact guilty as charged in the count to which the defendant is
pleading guilty.

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2s Waiver of Constitutional Rights

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

1. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

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By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual
basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory

maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of supervised release or probation
under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

The defendant expressly acknowledges that counsel has explained his appellate

and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

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DAVID JULIAN MENDOZA GONZALEZ

4. Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking a sentence below the applicable Guidelines range.

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule
11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent
proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea which is later withdrawn or that the defendant seeks to
withdraw;

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing,

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and any statement made in any proceeding under Rule 11 regarding this plea
agreement; and

c. Any statement made during plea discussions with an attorney or agent for

the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn.

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Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of
returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

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8.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the defendant
enters a guilty plea. The defendant agrees to update any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect

and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

Forfeiture Agreement

The defendant agrees to forfeit, pursuant to 21 U.S.C.'853, the following property,

involved in or used or intended to be used, the property constituting or derived from

proceeds traceable to the offense, and any firearm and ammunition involved in or used

in the knowing commission of the drug or firearm offenses, including but not limited

to:

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CONVEYANCES

1. A white 2015 Mercedes-Benz CLA, VIN WDDSJ4GBXFN 190928;

2. A 2022 Honda TRX 420 Motorcycle, VIN 1HFTE40DSN4800050;

FIREARMS AND AMMUNITION

3. Anderson Manufacturing AM-15, 5.56 caliber rifle, serial number 20348800;

4. Glock Model 22, .40 caliber handgun, serial number BRGR708; and

5. Unknown amount of miscellaneous ammunition.

Defendant agrees to take all steps as requested by the forfeiting authority to pass
clear title to forfeitable assets, including, but not limited to, the execution of a consent
decree of forfeiture and the completion of any other legal documents required for the
transfer of title.

Defendant agrees that the forfeited property is subject to seizure and forfeiture by
the United States, and that no defense exists to the seizure and forfeiture of this
property by the United States. As such, defendant hereby relinquishes all claim, title,
and interest in the above-referenced property to the United States and agrees not to
oppose any civil, administrative, or judicial forfeiture of the property.

Defendant waives any and all interest in the above property and consents to their
forfeiture by whatever process the government chooses. Defendant agrees that the
government may use this waiver and consent in any administrative or judicial
forfeiture proceeding, whether criminal or civil, state, local or federal. If defendant has

filed a claim to the above-mentioned assets in any forfeiture process, defendant hereby

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agrees to withdraw it. Defendant further agrees not to file a claim to the above
identified assets or properties in any future forfeiture proceeding of whatever type. In
the event that the law enforcement agency having custody of the property decides not
to pursue forfeiture of any of the seized property, defendant hereby abandons any
interest in such property and consents to its destruction by, and/or abandonment to,
the law enforcement agency.

The defendant understands that forfeiture is part of the sentence that will be
imposed in this case and waives any failure by the Court to advise defendant of this,
pursuant to Rule 11(b)(1)(J), at the time defendant’s guilty plea is accepted. The
defendant further understands, pursuant to Rule 32.2(b)(4)(A), that the order of
forfeiture will become final as to the defendant upon entry. The defendant waives
notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. The defendant also
waives all constitutional and statutory challenges in any manner (including direct
appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance
with this plea agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment.

The defendant agrees to forfeit substitute property, up to the value of the property
described above, if, by any act or omission of the defendant, the property described
above, or any portion thereof, cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party; has been placed beyond

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the jurisdiction of the court; has been substantially diminished in value; or has been
commingled with other property which cannot be divided without difficulty.
o: Special Assessment
a. The defendant hereby agrees to pay the total Special Monetary Assessment
($100 per felony count) to the United States District Court Clerk at or before
sentencing or as otherwise directed by the District Court.

10. Factual Basis and Elements

To convict defendant under 21 U.S.C. §§ 846, 841(b)(1)(A)Q), and
841(b)(1)(A)(vi) the government must prove the following elements beyond a
reasonable doubt:

a. Two or more persons agreed to violate the federal drug laws;
b. The defendant knew the essential objective of the conspiracy;

c. The defendant knowingly and voluntarily involved himself in the
conspiracy;

d. There was interdependence among the members of the conspiracy; and

e. The overall scope of the conspiracy involved at least 1 kilogram or more
of a mixture or substance containing a detectable amount of heroin and
400 grams or more of a mixture or substance containing a detectable
amount of fentanyl. Heroin is a Schedule I controlled substance and
fentanyl is a Schedule II controlled substance.

With regard to the factual basis required by Federal Rule of Criminal Procedure

11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea

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of guilty and relieves the United States of any further obligation to adduce such

evidence.

The defendant, DAVID JULIAN MENDOZA GONZALEZ, admits to

knowingly, willfully and intentionally committing or causing to be committed the

acts constituting the crime alleged in Count One in the instant case, and confesses to

the Court that the defendant is, in fact, guilty of such crime.

11.

I, DAVID JULIAN MENDOZA GONZALEZ, admit that between the
dates of June 2022 and until the fall/winter of 2023 I lived at 528 South
38th West Avenue in Tulsa, Oklahoma, which is in the Northern District
of Oklahoma. I participated in a drug trafficking organization with others
to distribute at least 400 grams or more of a mixture containing a
detectable amount of fentanyl, along with at least 1 kilogram or more of
a mixture or substance containing a detectable amount of heroin. The
conspiracy started in August 2021. My role within the conspiracy was to
take “orders” from “customers” and to direct the couriers (co-
conspirators) to deliver the drugs orders to the customers. I knowingly
and voluntarily involved myself in the conspiracy and I knew the
essential objective was to sell fentanyl and heroin. My co-conspirators
and I relied upon each other, and we mutually benefitted from our
participation in the conspiracy. I now know that heroin is a Schedule I
controlled substance and fentanyl is a Schedule II controlled substance.

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DAVID JULIAN MENDOZA GONZALEZ Date
Defendant

Further Prosecution

The United States shall not initiate additional criminal charges against the

defendant in the Northern District of Oklahoma that, as of the date of the

defendant’s acceptance of this agreement, arise from its investigation of the

defendant’s actions and conduct giving rise to the instant Indictment. The defendant

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understands, however, that this obligation is subject to all “Limitations” set forth
below, and that the United States Attorney’s Office for the Northern District of
Oklahoma is free to prosecute the defendant for any illegal conduct (i.e., violation of
federal criminal laws) not discovered by or revealed to the government before the
date of this agreement or occurring after the date of this agreement.

12. Dismissal of Remaining Counts

If the Court finds the defendant’s plea of guilty to be freely and voluntarily made
and accepts the plea, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty plea is rejected, withdrawn, vacated, or reversed at any
time, any charges that have been dismissed may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

13. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to

U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the

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Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for
timely acceptance of responsibility.

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crime to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility
without breaching the agreement.

14. Sentence

a. Imprisonment
The defendant acknowledges that under 21 U.S.C. §§ 846, 841(b)(1)(A)(@), and

841(b)(1)(A)(vi), the minimum mandatory statutory sentence is 10 years of

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imprisonment, the maximum statutory sentence is no more than life imprisonment

and a fine of not more than $10j000. aA
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b. Supervised Release

Additionally, the defendant is aware, if imprisonment is imposed, that the Court
must include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of at least five years. Violation of
any condition of supervised release may result in revocation, or modification of the
conditions, of supervised release, which may in turn result in additional incarceration
consistent with 18 U.S.C. § 3583(e).

c. Guidelines

The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any
source — is a prediction, not a promise. Regardless of any estimate the defendant has
received, the Court has discretion to impose any sentence up to and including the

statutory maximum.

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15. Stipulations

The defendant understands that neither the Court nor the United States Probation
Office is bound by the foregoing stipulations, either as to questions of fact or as to
determination of the correct advisory sentencing guideline calculation.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and
stipulates that defendant is not a “prevailing party” in connection with this case.

16. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

17. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court

shall determine whether a party has completely fulfilled all its obligations under this

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agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal

Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except if the Court determines that the government has breached the plea
agreement as set forth above. If DAVID JULIAN MENDOZA GONZALEZ, after
entry of a plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the
government may continue to enforce the agreement but will no longer be bound by
any particular provision in this agreement, unless the Court determines that the
government acted in bad faith to bring about the attempted plea withdrawal.

18. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea

agreement and the Plea Agreement Supplement that the United States will file in this

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case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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MANDY M CKENZIE_) Dated
Assistant United States Attorney

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RYAN HEATHERMAN/Sae4 Glue’ Dated
Attorney for Defendant

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DAVID JULIAN MENDOZA GONZALEZ Dated
Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, | am satisfied with the

representation of my attorney in this matter.

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DAVID JULIAN MENDOZA GONZALEZ Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Indictment. Further, I have
reviewed the provisions of the Sentencing Guidelines and Policy Statements and I
have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with
the defendant. To my knowledge, the defendant’s decision to enter into this

agreement is at\informed-and voluntary one. =
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RYAN HEATHERMAN /Q.4.4 hk Dated
Counsel for the Defendant K hel

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